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Counsel for Plaintiff, Advanced Total
Marketing Systems, Inc.

                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY

ADVANCED TOTAL MARKETING                Civil Action No.:
SYSTEMS, INC.,
                                        COMPLAINT FOR:

Plaintiff,                                 (1) TRADEMARK INFRINGEMENT,
                                               15 U.S.C. § 1114(1);
v.
                                           (2) FALSE DESIGNATION OF
BIG STOCK, INC.                                ORIGIN AND UNFAIR
                                               COMPETITION, 15 U.S.C. § 1125(a)
Defendant.
                                           (3) UNLAWFUL IMPORTATION OF
                                               GOODS INFRINGING U.S.
                                               TRADEMARKS OR NAMES, 15
                                               U.S.C. § 1124 AND 19 U.S.C. § 1526.

                                           (4) UNFAIR COMPETITION, N.J.
                                               STAT. ANN. § 56:4-1, ET SEQ.


                                           (5) TRADEMARK INFRINGEMENT,
                                               UNFAIR COMPETITION, FALSE
                                               DESIGNATION OF ORIGIN, AND
                                               MISAPPROPRIATION
                                               UNDER NEW JERSEY COMMON
                                               LAW
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       Plaintiff, Advanced Total Marketing Systems, Inc. (hereinafter, “ATMS” or “Plaintiff”),

through the undersigned attorneys, files this Complaint against Big Stock, Inc. (hereinafter, “Big

Stock” or “Defendant”), for trademark infringement and false designation of origin under federal

law and state law, and hereby alleges as follows:

                                       NATURE OF THE CASE

       1.      This action arises from Big Stock’s unauthorized importation, distribution, and sale

in the United States of ATMS food products that were intended for sale only in Latin America.

       2.      ATMS is the exclusive owner of all trademarks, service marks, and trade dresses

encompassed in the images, layout, and overall “look and feel” of its names, logos, labels, and

products, among others, within the United States Patent and Trademark Office (“USPTO”) of the

“Zambos” wordmark, logo, and variations thereof (hereinafter, the “Mark”).

       3.      Only, ATMS, Dinant S.A. de C.V. (ATMS’ main distributor) (the “Authorized

Distributor”), and Mexilink, Inc., a sub-licensee for the United States (“Mexilink”), may import

and sell authorized Products (as defined herein) in the United States.

       4.      ATMS manufactures and distributes Yummies salty snacks products in the United

States since 1999 (hereinafter, the “Products”) which include products bearing the Mark. The Mark

was registered on the USPTO principal register on October 29, 2002. See Exhibit A.

       5.      ATMS ensures that the contents, packaging, and labeling of the Products sold in

the United States comply with United States laws and regulations by subjecting its products to

high-quality control and transportation standards and by providing a combination of quality

ingredients to the Products.




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       6.       Big Stock is a “free rider,” unfairly profiting off the value of the Mark and the

investment that ATMS and its Authorized Distributor have made in creating consumer demand for

the Products.

       7.       Big Stock is a New Jersey-based company that imports and sells the Products in

New Jersey, and upon information and belief, elsewhere in the United States. Big Stock is not an

owner nor a licensee of the Mark in the United States.

       8.       Trademarked products that are imported and sold without the trademark’s owner's

authorization are often referred to as “gray market goods.”

       9.       Consumers in the United States often buy the Products sold in the United States

without realizing that they are not authorized by ATMS for resale in the United States. This is

troublesome because consumers become confused as to the source of the products, and in some

circumstances, let down, by the quality of the products they are consuming.

       10.      Despite being sold under the same Zambos’ brand and having similar appearances,

the Products sold by ATMS are materially different from the unauthorized Zambos products sold

through the grey market (the “Gray Market Products”).

       11.      Big Stock sells Grey Market Products in the United States.

       12.      The material differences are damaging and harmful for ATMS, the Authorized

Distributor, Mexilink, and consumers. Big Stock’s Gray Market Products sold in the United States

are not properly labeled in compliance with the Food, Drug, and Cosmetic Act (“FDCA”), 21

U.S.C. ch. 9 § 301 et seq, and the Food & Drug Administration’s (“FDA”) regulations and

guidance. Big Stock’s unauthorized Zambos products often are labeled in Spanish-only, contain

different nutritional information, contain formulations not intended for the United States and are

not subject to United Sates’ standards of quality and transportation control, among others. These




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material differences result in consumer confusion and loss of ATMS’ retail consumption in the

United States.

         13.     Accordingly, ATMS brings this action to recover damages due to Big Stock's

unlawful distribution and sale of contraband Gray Market Products and to prevent its further

distribution and sale of such Products in the United States. Plaintiff seeks this relief through claims

under the federal Lanham Act and Tariff Act, the New Jersey Trademark Act, the New Jersey

Unfair Competition Act, and New Jersey Common Law.

                                              THE PARTIES

         14.     ATMS is a corporation organized and existing under the laws of Panama, with its

principal place of business located at Comosa Bank building, First Floor, Samuel Lewis Avenue,

P.O. Box 4881, Panamá 5, Panamá. ATMS is the owner of Zambos’ trademarks, including the

Mark, in the United States.

         15.     Upon information and belief, Big Stock is a New Jersey corporation with its

principal place of business at 815 Fairview Avenue, Unit 5 Fairview, New Jersey 07022. Big Stock

describes itself as “a company dedicated to the importation and commercialization of traditional,

nostalgic and original products from our Latin Region, mainly from Central America. Now, we

also import from Asia. High-quality products, made by world-class companies with the highest

manufacturing standards that the current market demands.”1

                          SUBJECT MATTER JURISDICTION AND VENUE

         15.     Subject matter jurisdiction over this action is conferred upon this Court because

this is an action for trademark infringement under the Lanham Act, 15 U.S.C. § 1114 and unfair

competition pursuant to Section 43(a) of the Lanham Act, 15 U.S.C.A. § 1125(a) and (c). This



1
    See http://www.bigstockinc.com (Spanish to English translation supplied on the website).


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Court has jurisdiction under 15 U.S.C.A. § 1121, 15 U.S.C.A. § 1116(a), § 1125(a) and (c) and 28

U.S.C.A. §§ 1331 (federal question), 1338(a) (trademark infringement) and 28 U.S.C. § 1367(a)

(supplemental jurisdiction).

       16.       Venue is proper in this district pursuant to 28 U.S.C.A. § 1391(b) and (c) because

Big Stock’s principal place of business is located in this judicial district, it regularly transacts

business in this judicial district, and because a substantial portion of the acts and omissions by Big

Stock giving rise to ATMS’ claims and the damages and injuries complained of occurred in this

judicial district. Accordingly, this Court has personal jurisdiction over Big Stock by virtue of its

systematic and continuous contacts with New Jersey.

                     ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

                                      ATMS and ATMS’ Products

       17.       Through the Authorized Distributor, ATMS distributes its Products in different

countries throughout the world. The Authorized Distributor and Mexilink are responsible for the

marketing, distribution, and sale of the Products in the United States. ATMS sells approximately

four hundred fifty-thousand (450,000) cases of the Products in the United States.

       18.       ATMS devotes substantial effort and resources to ensure that the Products sold in

the United States are based on the preferences of United States consumers, that are safe to

consumers, and that they comply with the FDA requirements and other applicable laws of the

United States.

       19.       Before the distribution and sale of the Products, ATMS ensures that the Products

are properly manufactured, packaged, and labeled to their intended specifications and

formulations. Moreover, ATMS conducts quality control checks before and after the Products are




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distributed. At all moments, ATMS monitors the market by receiving consumer inquiries, tracking,

and investigating complaints.

       20.     ATMS granted an exclusive worldwide license for the sale of its Products directly

to the Authorized Distributor, who in turn, sub-licenses Mexilink to import and sell authorized

Products in the United States.

       21.     By virtue of these agreements, ATMS’ Authorized Distributor enjoys certain rights

and benefits—to distribute the Products within the United States. In carefully selecting an

authorized distributor, ATMS seeks and ensures that the goodwill and quality associated with the

Products is maintained and guaranteed.

       22.     Due to ATMS’ strictness in implementing high-quality standards to its distributors,

the Products have been tremendously successful in the United States.

                                 Trademarks for ATMS’ products

       23.     ATMS owns all rights in and to the Marks and the Trade Dresses in the United

States as well as all common law rights in and to the Marks and the Trade Dresses in New Jersey,

in connection with the selling, offering, and distributing of the Products.

       24.     Particularly, ATMS owns the following registered trademarks, pending

applications, and common law trademarks:


              Mark                    Registration/           Status              Class/Products
                                   Presentation No. in
                                       the USPTO

                                                                                     Class 029:
             ZAMBOS                      2643142             Registered
                                                                              Plantain chips

                                                             Registered             Class 029:
                                                                              Fried plantain; Plantain
                                         5039357
                                                                              chips




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                             4811390        Registered         Class 029:
                                                         Fried plantain; Plantain
                                                         chips




                             4811389        Registered         Class 029:
                                                         Fried plantain; Plantain
                                                         chips




                             4811388        Registered         Class 029:
                                                         Fried plantain; Plantain
                                                         chips




                             4811387        Registered         Class 029:
                                                         Fried plantain; Plantain
                                                         chips




  YUMMIES CRUNCH             4975767        Registered          Class 030:
                                                         Baking-powder; Cheese
                                                         flavored        snacks,
                                                         namely, cheese curls;
                                                         Coffee;           Coffee
                                                         substitutes;      Flour;
                                                         Honey; Ice creams;
                                                         Molasses          syrup;
                                                         Mustard; Rice; Sago;



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                                                            Salt; Sugar; Tapioca;
                                                            Tea; Tortilla chips;
                                                            Vinegar; Yeast
                             5558175         Registered            Class 029:
                                                            Latin American style
                                                            food products, namely,
                                                            processed        flavored
                                                            plantains           slices,
                                                            processed        flavored
                                                            yucca chips, fried pork
                                                            with salt and chili,
                                                            potato      flakes       of
                                                            different flavors, Latin
                                                            American style food
                                                            products, namely, fired
                                                            flavored peanuts and
                                                            baked flavored peanuts.

                                                                   Class 030:
                                                            Fried corn tortilla snack
                                                            foods with different
                                                            flavors;      corn-based
                                                            snack foods, namely,
                                                            extruded corn with
                                                            different         flavors;
                                                            popcorn of different
                                                            flavors.
                             6024381         Registered            Class 030:
                                                            Flour and preparations
                                                            made from cereals,
                                                            namely, corn flour
                                                            based snack foods;
                                                            bread,    pastry      and
                                                            confectionery, namely,
                                                            creole rings baked with
                                                            farmer's cheese and
                                                            snack foods.
       ZAMBUS                90552749       Pending to be           Class 29:
                                                            Fried plantain; Plantain
                                             registered.
                                                            chips.
     TAQUERITOS              6354122         Registered            Class 030:
                                                            Corn-based          snack
                                                            foods.
                             6354124         Registered            Class 030:
                                                            Corn-based          snack
                                                            foods.




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         Big Stock’s Wrongful Distribution and Sale of Zambos in the United States

       25.       Big Stock purchases various Zambos’ goods through the gray market, including

products manufactured by ATMS that are only intended for sale in Latin America. Those Gray

Market Products are imported by Big Stock into the United States without authorization and are

distributed in New Jersey and elsewhere throughout the United States. Each month Big Stock sells

thousands of dollars’ worth of Gray Market Products.

       26.       Big Stock has not been authorized by ATMS, the Authorized Distributor, nor by

Mexilink, to distribute or sell Gray Market Products in the United States. Nevertheless, since at

least 2017, Big Stock has conspired to acquire Zambos products from Latin America, destined for

the Latin America market, in order to distribute and sell them to retailers and other customers in

the United States.

       27.       The Gray Market Products that Big Stock sells in interstate commerce include, but

are not limited to:

                Zambos Picositos;

                Zambos Salsa Verde;

                Zambos Ceviche;

                Zambos Cassava; and

                Zambos Originales.

       28.       Big Stock regularly markets and provides retailers in the United States with

advertisements and catalogs that use the Mark to advertise Gray Market Products. For example, in

a shopper advertisement for Big Stock, Big Stock advertises the Gray Market Products for sale.

See Exhibit B. Furthermore, Big Stock promotes the products it acquires from the gray market

through a catalog to be ordered in large quantities. See Exhibit C.




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       29.     On November 13, 2017, ATMS sent a cease-and-desist letter to Big Stock in

connection with Big Stock’s trademark infringement and unfair competition practices, and

explicitly demanding that Big Stock promptly cease its unauthorized importation, distribution, use,

and sale of the unauthorized products bearing the Mark. However, Big Stock did not cease its

wrongful conduct.

       30.     The Gray Market Products distributed by Big Stock in the United States, as

explained further below, are materially different from the corresponding ATMS Products marketed

under the same brand. For instance, they use Spanish-only labels with nutritional information and

metric units that are inconsistent with FDA regulations; and they are subject to different quality

control standards and transportation logistics.

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  Material Differences Between the Authorized Zambos’ Products and the Gray Market
                                       Products
       31.     For each of the Gray Market Products sold by Big Stock, there is a similar but

materially different ATMS product that is actually intended for sale in the United States. The Gray

Market Products sold by Big Stock use many of the same Zambos Marks that appear on ATMS’

Products. For example:


               ATMS Product                                Gray Market Product
               Zambos Ceviche                                Zambos Ceviche




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           Zambos Originals                    Zambos Originales




          Zambos Salsa Verde                  Zambos Salsa Verde




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             Zambos Chile Limón                               Zambos Picositas




       32.       Despite their use of the same Zambos Mark and similarities in appearance, there

are material differences between the ATMS Products and the Gray Market Products concerning,

among other things, the information contained on the labels, graphics, certification, language, and

product amount/formulation.

       Labels:

       33.       The Gray Market Products sold by Big Stock are labeled in Spanish while the

ATMS products are labeled in English.



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       34.    The Spanish-language labeling of the Gray Market Products is a violation of FDA

regulations that require products sold in the United States to be labeled in English and allow

labeling in a foreign language such as Spanish only when all required label elements are provided

in both English and Spanish. See, 21 CFR 101.15(c)(2). For example:

                 ATMS Product                                   Gray Market Product
                 Zambos Ceviche                                   Zambos Ceviche




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            Zambos Originals                        Zambos Originales




             Zambos Ceviche                          Zambos Ceviche




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               Zambos Chile Limón                                     Zambos Picositas




       35.     The label on ATMS Zambos Products refers to a website affiliated with the

Authorized Distributor, whereas the corresponding labels for the Gray Market Products do not

refer to Dinant. The difference will not allow the United States’ consumers to contact the firm

responsible for the Products in the event of a safety or quality concern.




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       36.     The Nutrition Facts Panel on the label for the ATMS products complies with FDA

regulations –font sizes, bolding, spacing, and lines between text, as well as naming and order of

nutrients listed– whereas Gray Market Products, do not. See, 21 CFR 101.9(b), (c) and (d). The

ATMS Products’ labels identify the added sugar content of the products and list calories in a

designated larger font, as required by the FDA. Moreover, none of the Gray Market Products

identify their added sugar content or list calories in a designated larger font. Similarly, many of

the Gray Market Products provide different nutritional information than the ATMS products

because they may have different formulations and/or recommended serving sizes. For example:




                  ATMS Product                                     Gray Market Product
                 Zambos Originals                                   Zambos Originales




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           Zambos Salsa Verde                                   Zambos Salsa Verde




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       37.     The labels for the ATMS products identify the quantity of the ATMS products in

both United States Customary and metric units as required by FDA regulations (ounces and

grams). On the contrary, Gray Market Products use only metric units (grams). For example:

                 ATMS Product                                      Gray Market Product
                 Zambos Ceviche                                      Zambos Ceviche




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       38.    The labels for the ATMS package identify the distribution channels and quality

control procedures with the mark ‘QUALITY EXPORT’, which provides a guarantee to retailers

and customers that the Zambos chips are sold by ATMS and that it complies with high standards

of quality. On the contrary, the Gray Market Products, do not contain the ‘QUALITY EXPORT’

mark. For example:

                 ATMS Product                                     Gray Market Product
                 ATMS Package                                      Big Stock Package




       39.    Furthermore, upon information and belief, Big Stock has engaged in the

commercialization and sale, within the United States, of food products that have not been

authorized by the FDA for sale in the United States, such as Zambos Chicharrón.

       Product Composition and Formulation:

       40.    The compositions and formulations of ATMS’ products and Gray Market Products

may also differ. ATMS and Big Stock versions of Zambos Ceviche have a different composition

(i.e., 155g versus 140g). Moreover, ATMS and Big Stock versions of Zambos Ceviche have

different fat and sugar content. This means that ATMS’ products—intended for importation,

distribution, and sale for the United States—are different in composition and use of ingredients

than the Zambos’ goods intended for sale in Latin America. For example:




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                                                  Content Per Serving

                                           ATMS                    Big Stock
                                      Zambos Salsa Verde       Zambos Salsa Verde
                  Fat Content               7.0g                     6.0g

                  Sugar Content               1.0g                      0g



   Other Material Differences:

       41.       Because ATMS Products are distributed and sold in the United States, they are

subject to food safety and quality assurance processes to ensure they meet the requirements of the

United States. laws and regulations. The Gray Market Products are subject to different safety and

quality standards. Thus, it may be difficult to trace the products and their ingredients to determine

their source.

       42.       Under 21 C.F.R. 101.15(c), any product that makes representations in Spanish must

include all required labeling elements—including nutritional facts and ingredients information—

both in English and in Spanish. The Gray Market Products fail to comply with this requirement.

       43.       ATMS Products bare a ‘QUALITY EXPORT’ mark on the top right corner of the

bag. This certification illustrates that those bags comply with the FDA and are authorized to be

distributed in the United States with high standards.

                Effects of Big Stock’s Wrongful Conduct on ATMS and Its Customers

       44.       Retailers and consumers have purchased the Products sold and distributed by Big

Stock under the mistaken belief that those products are ATMS Products, and/or that the distribution

and sale of those products are associated with ATMS and the Mark. As a result, those retailers and

consumers have purchased materially different products from the ones they believed they were

purchasing.




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        45.      ATMS has rigorous standards of quality and freshness for its products. To this end,

it has developed a structure that guarantees freshness from the moment of producing the Products

to the moment of delivery to retailers. Gray market products are often expired. Notwithstanding,

gray marketers sell expired products to consumers. By failing to provide the products that ATMS

and its legitimate Authorized Distributor provide to retailers and consumers, Big Stock has been

able to offer low prices for the Zambos products it sells. Because of this, retailers have purchased

the Products from gray marketers, like Big Stock, instead of directly from ATMS or its Authorized

Distributor. This has harmed ATMS’ business in numerous ways, including, among others, harm

to its goodwill, loss of revenue, consumer dissatisfaction, and declining relations with legitimate

retailers.

        46.      ATMS’ goodwill and business have been harmed by Big Stock’s action. This

damage to ATMS and the goodwill associated with the Mark is likely to continue if Big Stock’s

infringing activities do not cease.

        47.      Big Stock has willfully engaged in this unlawful conduct despite knowing that they

are infringing ATMS’ rights to the Mark in the United States.

                                FIRST CAUSE OF ACTION
              Trademark Infringement Under The Lanham Act (15 U.S.C. § 1114(1))

        48.      ATMS incorporates and re-alleges each and every allegation set forth in paragraphs

1 to 47 above as if fully set forth herein.

        49.      Without ATMS’ consent, Big Stock have infringed ATMS’ rights to the Mark in

interstate commerce by various acts, including advertising, distributing, and offering for sale goods

bearing the Mark, including the Gray Market Products, which were manufactured solely for the

Latin American market, and were not manufactured by ATMS for sale in the United States under

the Mark.



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        50.     Big Stock’s acts of infringement are likely to cause, and have caused, confusion,

mistake, and deception, in that purchasers and others in the United States are likely to believe

ATMS authorizes and controls the sale of the Gray Market Products, or that they are in any matter

associated with or related to ATMS or are authorized by ATMS to distribute or sell the Products

in the United States, in violation of Section 32(1)(a) of the Lanham Act, 15 U.S.C.A. § 1114(1)(a).

        51.     Big Stock has had actual and constructive knowledge of ATMS’ superior rights in

and to the Mark, and Big Stock continues to use the Mark with actual knowledge of infringing

conduct. Big Stock’s conduct was undertaken willfully and/or with reckless disregard of ATMS’

rights and continued even after ATMS sent a cease-and-desist letter, and with the intention to cause

confusion, mistake, or deception, making this an exceptional case entitling ATMS to recover

additional damages and reasonably attorneys’ fees.

        52.     If not restrained, Big Stock will have unfairly derived and will continue to derive

income, profits, gain, and business opportunities as a result of their acts of infringement. As a

direct and proximate result of the actions of Big Stock alleged above, ATMS has been damaged

and will continue to be damaged.

        53.     By reason of the foregoing, ATMS is entitled to injunctive relief pursuant to 15

U.S.C. § 1116, an order directing that infringing Gray Market Products be destroyed pursuant to

15 U.S.C. § 1118, as well as actual damages, treble damages, disgorgement of Big Stock’ profits,

the costs of this action, and attorneys’ fees pursuant to 15 U.S.C. § 1117, among other relief.

                                  SECOND CAUSE OF ACTION
          False Designation of Origin and Unfair Competition Under The Lanham Act (15
                                      U.S.C. § 1125(a))

        54.     ATMS incorporates and re-alleges each and every allegation set forth in paragraphs

1 to 53 above as if fully set forth herein.




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       55.     Big Stock’s unauthorized importation, distribution, marketing and sale of products

bearing the Mark—which are materially different from the Products sold by ATMS in the United

States—places the nature and quality of products bearing the Mark beyond the control of ATMS

and deprives ATMS to control their quality.

       56.     Big Stock’s acts of false designation of origin and unfair competition are likely to

cause and have caused, confusion, mistake, and deception as to the affiliation connection, or

association of Big Stock with ATMS, and as to the origin, sponsorship, and/or approval of the

Gray Market Products, in that purchasers and others in the United States are likely to believe

ATMS authorizes and controls the sale of the Gray Market Products, or ATMS is in any matter

related or affiliated with Big Stock.

       57.     Big Stock’s acts of false designation of origin and unfair competition are likely to

cause, and have caused, confusion, mistake, and deception, in purchasers in the United States. Big

Stock has unfairly derived and will continue to derive income, profits, gain and business

opportunities as a result of their acts of infringement. As a direct and proximate result of the actions

of Big Stock alleged above, ATMS has been damaged and will continue to be damaged. Unless

restrained by this Court, Big Stock will continue to inflict great and irreparable harm on ATMS.

       58.     Big Stock’s conduct was undertaken willfully and/or with reckless disregard of

ATMS’ rights, and continued even after ATMS sent a cease-and-desist letter, and with the

intention to cause confusion, mistake, or deception, making this an exceptional case entitling

ATMS to recover additional damages and reasonably attorneys’ fees.

       59.     ATMS is entitled to injunctive relief pursuant to 15 U.S.C. § 1116, an order

directing that infringing products be destroyed pursuant to 15 U.S.C. § 1118, and to actual




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damages, treble damages, disgorgement of Big Stock’s profits, the costs of this action, and

attorneys’ fees pursuant to 15 U.S.C. § 1117, among other relief.

                                    THIRD CAUSE OF ACTION
              Unlawful Importation of Goods Infringing U.S. Trademarks or Names
                              (15 U.S.C. § 1124 and 19 U.S.C. § 1526)

        60.      ATMS incorporates and re-alleges each and every allegation set forth in paragraphs

1 to 59 above as if fully set forth herein.

        61.      By reason of Big Stock’s wrongful importing of the products bearing the Mark,

including the Gray Market Products—that are materially different from products authorized for

sale in the United States under the Mark— ATMS has suffered and will continue to suffer

substantial and irreparable injury, loss, and damage to their rights in and to the Mark, and damage

to the goodwill associated therewith, for which they have no adequate remedy at law.

        62.      ATMS is entitled to an order enjoining and restraining Big Stock from diverting,

distributing, and selling the Zambos Products intended for Latin America in the United States.

ATMS is also entitled to seizure and/or require Big Stock to destroy the Zambos products intended

for Latin America in their possession, as well as actual damages, treble damages, disgorgement of

Big Stock’s profits, the costs of this action, and attorneys’ fees pursuant to 15 U.S.C. § 1117,

among other relief.

                             FOURTH CAUSE OF ACTION
          Unfair Competition Under New Jersey Statutory Law (N.J.S.A. § 56:4-1)

        63.      ATMS incorporate and re-alleges each and every allegation set forth in paragraphs

1 to 62 above as if fully set forth herein.

        64.      Big Stock’s appropriation and actual use in connection with the Gray Market

Products and the goodwill and reputation associated therewith and attached thereto constitute

unfair competition in violation of N.J.S.A. 56:4-1, et seq.



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        65.     Big Stock’s actions as alleged herein have caused and will continue to cause

irreparable damage and injury to ATMS if not enjoined by this Court, for which Plaintiff has no

adequate remedy at law.

        66.     Big Stock’s conduct was undertaken willfully and/or with reckless disregard of

ATMS’ rights and continued even after ATMS sent a cease-and-desist letter, and with the intention

to cause confusion, mistake, or deception, making this an exceptional case entitling ATMS to

recover additional damages and reasonably attorneys’ fees.

        67.     ATMS is entitled to an order enjoining and restraining Big Stock from diverting,

distributing, and selling the Zambos Products intended for Latin America in the United States.

ATMS is also entitled to seizure and/or require Big Stock to destroy the Zambos products intended

for Latin America in their possession, as well as actual damages, treble damages, disgorgement of

Big Stock’s profits, the costs of this action, and attorneys’ fees pursuant to N.J.S.A. § 56:4-2,

among other relief.

                              FIFTH CAUSE OF ACTION
        Trademark Infringement, Unfair Competition, False Designation of Origin, and
                  Misappropriation Under New Jersey Common Law

        68.     ATMS incorporate and re-alleges each and every allegation set forth in paragraphs

1 to 67 above as if fully set forth herein.

        69.     ATMS owns all rights, titles and interests in and to the Mark. Big Stock has

infringed and continues to infringe ATMS’ trademark in New Jersey and elsewhere in the United

States by, without consent, importing, advertising, distributing, selling, and offering to sell

Zambos’ Products intended for Latin America, including the Gray Market Products, in the United

States that are likely to be confused with the Mark, including because they are likely to cause and

have caused, confusion, mistake, and deception as to the affiliation connection, or association of




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Big Stock with ATMS, and as to the origin, sponsorship, and/or approval of the Gray Market

Products, in that purchasers and others in the United States are likely to believe ATMS authorizes

and controls the sale of the Gray Market Products, or ATMS is in any matter related or affiliated

with Big Stock.

       70.      Big Stock’s infringing activities have caused, are likely to cause, and are causing

confusion, mistake, and/or deception on the part of consumers regarding the association of Big

Stock to ATMS, or as to the origin, sponsorship, or approval of Big Stock’s goods by ATMS.

       71.      Big Stock’s infringing activities misrepresent the nature, characteristics, qualities,

and origin of Big Stock’s goods. For this reason, Big Stock’s infringing activities constitute

common law infringement of ATMS’ Zambos trademark.

       72.      Big Stock has been and continues to infringe ATMS’ trademark rights with full

knowledge of or at least willful and reckless disregard for ATMS’ common law rights.

                                         PRAYER FOR RELIEF

       WHEREFORE, ATMS prays that this Court enter judgment in its favor on each and every

claim for relief set forth above and award it relief, including, but not limited to, the following:

       1.       Temporary, preliminary, and permanent injunctions enjoining Big Stock and its

employees, officers, directors, principals, subsidiaries, parents, affiliates, related companies,

agents, and all persons in active concert or participation with any of them:

             a. From acquiring, transporting, distributing, developing, offering to sell, or selling

                any products bearing the Mark;

             b. From using the Mark or any other trademark owned by ATMS and/or licensed to

                its Authorized Distributor in connection with its business;




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             c. From infringing the Mark or any other trademark owned by ATMS and/or licensed

                to its Authorized Distributor.

             d. From causing a likelihood of confusion, deception, or mistake as to the source,

                nature, or quality of the Products or any other products manufactured, distributed,

                or sold by ATMS and/or that bears the Mark;

             e. From using any false designation of origin or false representation concerning the

                Products or any other products manufactured, distributed, or sold by ATMS and/or

                that bear the Mark; and

             f. From any act of unfair competition or unfair practice affecting ATMS, the Products,

                or any other products manufactured, distributed, or sold by ATMS and/or that bear

                the Mark.

        2.      An Order directing Big Stock to file with this Court and serve on ATMS’ attorneys,

thirty (30) days after the date of entry of any injunction, a report in writing and under oath setting

forth in detail the manner and form in which they have complied with the Court’s injunction;

        3.      An Order directing Big Stock to destroy the Gray Market Products or any other

products bearing the Mark in the possession of the Big Stock and their officers, agents, servants,

employees, affiliates, successors, assigns, and all persons acting in concert or participation with

them;

        4.      An Order seizing Gray Market Products or any other products bearing the Mark in

the possession of the Big Stock and their officers, agents, servants, employees, affiliates,

successors, assigns, and all persons acting in concert or participation with them;

        5.      An accounting and disgorgement of all of Big Stock’s profits resulting from the

sale of the Zambos Products and any other products bearing the Mark in the United States;




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        6.      An Order requiring Big Stock to pay ATMS’ damages in an amount as yet

undetermined caused by the foregoing acts of infringement, and trebling such damages for

payment to ATMS in accordance with 15 U.S.C. § 1117, N.J.S.A. §§ 56:4-2, 56:3-13.16 and other

applicable laws;

        7.      An Order awarding ATMS actual damages and damages in connection with

correcting any erroneous impression persona may have derived concerning the nature,

characteristics, or qualities ATMS’ Products, including without limitation in connection with the

placement of corrective advertising and providing written notice to the public;

        8.      An Order requiring Big Stock to pay ATMS all of its litigation expenses, including

reasonable attorneys’ fees and costs under 15 U.S.C. § 1117, N.J.S.A. §§ 56:4-2, 56:3-13.16, New

Jersey common law, and other applicable laws;

        9.      An Order requiring Big Stock to pay ATMS punitive damages in an amount to be

determined due to the foregoing willful acts under 15 U.S.C. §1117; and

        10.     Any other relief as the Court may deem appropriate.

                                             JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38, ATMS respectfully demands a trial by jury on all issues

properly triable by a jury in this action.




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Dated: November 8, 2021

                                   RIVKIN RADLER LLP

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                                          Counsel for Plaintiff, Advanced Total
                                          Marketing Systems, Inc.




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              CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

       I certify that to the best of my knowledge, the matter in controversy is not the subject of

any other action pending in any court, or of any pending arbitration or administrative proceeding,

Dated: November 8, 2021.

                                             RIVKIN RADLER LLP

                                             By:    s/Gene Y. Kang




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                CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 201.1

          I hereby certify that the above-captioned matter is not subject to compulsory arbitration in

that ATMS, seeks in excess of $150,000.00, exclusive of interest and costs, and seeks injunctive

relief.

Dated: November 8, 2021.
                                                RIVKIN RADLER LLP

                                                By:    s/Gene Y. Kang




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